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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

¥ Mle vRL- A GIK

Case No. 6:08-cr- |
18 U.S.C. § 371

FRANK L. AMODEO 18 U.S.C. § 1343
18 U.S.C. § 1505
26 U.S.C. § 7202
18 U.S.C. § 981(a)(1)(C) - Forfeiture
28 U.S.C. § 2461(c) - Forfeiture
INDICTMENT
The Grand Jury charges:

COUNT ONE . ,
(CONSPIRACY) -.

A. Introduction a 1

At times material to this Indictment:

1. Presidion Corporation was a publicly traded corporation incorporated in-
Florida with offices located in Troy, Michigan, which was later de-listed. Presidion
Corporation itself conducted no business activity.

2. Presidion Solutions, Inc. (Presidion Solutions) was a Florida corporation
with offices located in Troy, Michigan; Orlando, Florida; Jupiter, Florida; and Miami,
Florida. Defendant FRANK L. AMODEO controlled Presidion Solutions from on or
about June 2005 until July 2007. Presidion Solutions was a holding company for
several professional employee organizations (PEOs) that provided comprehensive and
integrated resource management services, including payroll services, to small and

medium sized companies. Over ninety-five percent of Presidion Solutions’ clients were
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based in Florida. Presidion Solutions was a wholly owned subsidiary of Presidion
Corporation.

3. Mirabilis Ventures, Inc. (Mirabilis) was a Nevada Corporation, with offices
located in Orlando, Florida. Mirabilis had a number of presidents from its inception to
April 2008; however, defendant FRANK L. AMODEO, although not an officer or
director, controlled Mirabilis from about the summer of 2004 but no later than January
2005 until April 2008.

4, From 2001 through 2005, Presidion Solutions acquired 7 PEOs, which
made up Presidion Solutions’ “book of business’, i.e., the contracts Presidion Solutions
had with its clients. In 2001, Presidion Solutions acquired Sunshine Staff Leasing,
Sunshine Companies |, Sunshine Companies II, Sunshine Companies III and Sunshine
Companies IV (herein after referred to as the Sunshine Companies). Subsequently, the
Sunshine Companies did business as Presidion Solutions |, Presidion Solutions Il,
Presidion Solutions II, Presidion Solutions IV and Presidion Solutions V, respectively.

5. Presidion Solutions acquired Paradyme, Inc. (Paradyme) doing business
as Presidion Solutions VI, in 2002 and acquired Professional Benefit Solutions, Inc.,
d/b/a Presidion Solutions VII, Inc. (PBS), in 2005. With the acquisitions of the Sunshine
Companies, Paradyme and PBS, Presidion Solutions had at least 2,200 clients and
approximately 29,700 worksite employees.

6. Presidion Solutions engaged in "SUTA dumping,” which involves
“transferring” the “book of business” from one PEO subsidiary to another, depending on
the State Unemployment Tax (SUTA) rates for the PEO subsidiaries. The SUTA rates
changed on a yearly basis, so depending on which PEO subsidiary had the best SUTA

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rate for the year, the PEO subsidiary with the lowest SUTA rate would report the payroll
wages and the payroll taxes. The bulk of Presidion Solutions’ “book of business” was
reported by PBS during 2005 and 2006.

7. The clients of the PEOs entered into contracts, or service agreements,
with Presidion Solutions (or its predecessors). Initially the clients entered into the
agreement with the Sunshine Companies; then later on, the clients either entered into
an agreement with Paradyme or PBS.

8. According to the contracts signed by the clients when Presidion Solutions
(or its predecessors) started providing services to the clients, Presidion Solutions
became the co-employer of its clients' employees and assumed the liabilities and
responsibilities for reporting and paying over to the Internal Revenue Service the payroll
wages and the payroll taxes of the worksite employees.

9. At the end of a client's payroll cycle, a client would e-mail, fax or mail the
number of hours worked by the worksite employees to Presidion Solutions. After
receiving the information, Presidion Solutions computed the amount of Federal
Insurance Contributions Act (FICA) taxes, Medicare, withholding taxes, workers’
compensation insurance and 401K contributions to be added to the clients’ bill, along
with Presidion Solutions' administrative fee. Presidion Solutions would then e-mail, fax
or mail this information back to the clients, who would either direct debit, mail or wire the
funds to Presidion Solutions.

10. There were a number of companies, including Mirabilis and affiliates of

Mirabilis, which were controlled by defendant FRANK L. AMODEO and the other
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co-conspirators, which played a part in the tax fraud and wire fraud scheme. The
companies involved in the scheme included AEM, Inc., d/b/a Mirabilis HR (AEM), AQMI
Strategy Corporation (AQMI), Common Paymaster Corporation (Common Paymaster),
Nexia Strategy Corporation (Nexia), Presidion Corporation, Presidion Solutions,
Quantum Delta Enterprises, Inc., d/b/a Siren Resources, Inc. (Quantum), Wellington
Capital Group, Inc. (Wellington) and various other companies.
B. THE AGREEMENT

11. Between approximately August 2004, and continuing thereafter through in
or about February 2007, in Orange County, Florida, in the Middle District of Florida, and
elsewhere,

FRANK L. AMODEO
the defendant herein, did knowingly and willfully combine, conspire, confederate and
agree, with others both known and unknown to the Grand Jury, to defraud the United
States for the purpose of impeding, impairing, obstructing and defeating the lawful
Government functions of the Internal Revenue Service of the Treasury Department in
the ascertainment, computation, assessment and collection of the revenue: to wit,
payroll taxes, and to commit offenses against the United States, to-wit: Wire Fraud, in
violation of Title 18, United States Code, Section 1343, and Obstruction of an Agency
Proceeding, in violation of Title 18, United States Code, Section 1505.
C. MANNER AND MEANS OF THE CONSPIRACY
12. |The substance of the conspiracy included, among other things, the

following:
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a. it was a part of the conspiracy that defendant FRANK L. AMODEO, along
with co-conspirators, would control a web of one public and several private companies,
including multiple PEOs.

b. It was a further part of the conspiracy that defendant FRANK L. AMODEO
and co-conspirators would attempt to absolve themselves of the responsibility for
existing payroll tax liabilities and to divert payroll tax funds paid by the PEO clients to
the PEOs that defendant FRANK L. AMODEO and co-conspirators controlled.

c. It was a further part of the conspiracy that defendant FRANK L. AMODEO
and co-conspirators would purchase assets in defendant FRANK L. AMODEO's name
and/or in the names of co-conspirators and/or in the names of nominees, including real
estate, airplanes, vehicles and other companies.

d. It was a further part of the conspiracy that, even though defendant FRANK
L. AMODEO was not to be listed as a director, officer or shareholder for some of the
companies involved in the scheme, defendant FRANK L. AMODEO and his
co-conspirators directed the business activities of all the companies involved in the
scheme.

e. It was a further part of the conspiracy that defendant FRANK L. AMODEO
would use funds received by AQMI from Presidion Solutions in order to make the
purchase of the Sunshine Companies, knowing at the time of the purchase that the
Sunshine Companies had existing payroll tax liabilities. Defendant FRANK L.
AMODEO's purchase of the Sunshine Companies did not include Presidion Solutions’

“book of business”, which was transferred to Paradyme.
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f. It was a further part of the conspiracy that AQMI would provide a line of
credit in the amount of approximately $3,000,000.00 to Wellington, a company
controlled by defendant FRANK L. AMODEO.

g. It was a further part of the conspiracy that the principals of Presidion
Solutions would provide AQMI the money to fund the Line of Credit which was then
used to purchase the Sunshine Companies.

h. It was a further part of the conspiracy that defendant FRANK L. AMODEO
would gain control of Presidion Solutions’ remaining PEO subsidiaries, i.e., Paradyme
and PBS.

i. It was a further part of the conspiracy that after gaining control of
Paradyme and PBS, defendant FRANK L. AMODEO would direct that funds collected
from Presidion Solutions’ clients, which were represented to the clients as funds to be
used to pay the payroll taxes, not be paid over to the Internal Revenue Service during
2005 and 2006.

j. It was a further part of the conspiracy that defendant FRANK L. AMODEO
would cause to be opened at First Southern Bank an account in the name of Presidion
Solutions, titled as the “Reserve account” (Reserve account), the purpose of which was
to conceal the source of the funds from the employees, Internal Revenue Service,
regulators and others.

k. It was a further part of the conspiracy that the Reserve account would
receive funds from a Bank of America account in the name of Presidion Solutions, titled

as the “Ultimate Master account” (Ultimate Master account).
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I. It was a further part of the conspiracy that defendant FRANK L. AMODEO
would direct funds that should have been used to pay the payroll taxes for PBS be
transferred from the Ultimate Master account, which held the payroll tax funds, to the
Reserve account.

m. It was a further part of the conspiracy that the funds would be dispersed at
defendant FRANK L. AMODEO's direction and for his benefit and the benefit of
co-conspirators.

n. It was a further part of the conspiracy that defendant FRANK L. AMODEO
and one or more of co-conspirators would knowingly fail to remit to the Internal Revenue
Service payroll taxes, including FICA and withholding taxes (also referred to as trust
fund taxes).

oO. It was a further part of the conspiracy that defendant FRANK L. AMODEO
and other co-conspirators would attempt to conceal Presidion Solutions’ “book of
business” and the responsibility for the remittance of PBS’ payroll taxes to the Internal
Revenue Service by entering into a number of management/assignment agreements
between companies controlled by defendant FRANK L. AMODEO.

p. It was a further part of the conspiracy that Mirabilis, a private equity fund,
would be used as the umbrella company used in the tax fraud and wire fraud scheme
and would be controlled by defendant FRANK L. AMODEO and other co-conspirators.

q. It was a further part of the conspiracy that Mirabilis would buy distressed
businesses and would eventually evolve into a business that specialized in acquisitions
of and mergers with other businesses in various industries. By late 2006, Mirabilis had

grown to be a conglomerate of approximately 70 companies involved in various

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industries, including consulting, corporate security, employee leasing and hotel
ownership.

r. It was a further part of the conspiracy that defendant FRANK L. AMODEO
would direct that funds be directly transferred from a Bank of America account in the
name of AEM to companies controlled by defendant FRANK L. AMODEO and the other
co-conspirators, such as Common Paymaster and Mirabilis, to fund the companies’
operations and to acquire other companies.

s. It was a further part of the conspiracy that during 2005 and 2006,
defendant FRANK L. AMODEO and co-conspirators would use diverted payroll tax
funds to fund operations and acquire numerous companies under the Mirabilis
“umbrella.”

t. it was a further part of the conspiracy that defendant FRANK L. AMODEO
and co-conspirators would provide false information or fail to provide all material
information to Internal Revenue Service revenue officers attempting to collect unpaid
payroll taxes from PEOs controlled by defendant FRANK L. AMODEO and
co-conspirators.

OVERT ACTS

13. In furtherance of the conspiracy, and to effectuate its objectives, the
following overt acts, among others, were committed within the Middle District of Florida,
and elsewhere:

a. On or about October 18, 2004, defendant FRANK L. AMODEO, as the
president of AQMI, signed a consulting agreement with Presidion Solutions. The
consulting agreement called for defendant FRANK L. AMODEO to provide tax advice to

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Presidion Solutions for a non-refundable fee in the amount of $150,000.00 and an
additional fee of 25% of any tax savings of the company's current payroll tax liability,
which at the time, was approximately $13,000,000.00 (including taxes, penalties and
interest).

b. On or about October 18, 2004, defendant FRANK L. AMODEO took out a
line of credit in the amount of $3,000,000.00 from AQMI, so he could justify using funds
paid to AQMI for his benefit.

on On or about December 1, 2004, AQMI provided a line of credit in the
amount of approximately $3,000,000.00 to Wellington, a company controlled by
defendant FRANK L. AMODEO.

d. On or about December 8, 2004, defendant FRANK L. AMODEO, through
Wellington, agreed to purchase the Sunshine Companies for approximately
$500,000.00. Defendant FRANK L. AMODEO used the line of credit Wellington had
with AQMI to provide funds to Wellington to complete the purchase of the Sunshine
Companies.

e. On or about December 8, 2004, Presidion Solutions provided defendant
FRANK L. AMODEO with a limited power of attorney to make payroll tax payments for
the Sunshine Companies.

f. On or about December 17, 2004, Presidion Solutions transferred
approximately $1,284,986.58 to AQMI, per the limited power of attorney described in
13e above, which then transferred approximately $1,000,000.00 to Wellington per the
line of credit described in 13c above. Subsequently, Wellington would purchase
multiple cashier's checks to complete the purchase of the Sunshine Companies. The

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funds transferred on this date to AQMI were actually funds intended to be used as
payroll taxes for the Sunshine Companies.

g. On or about December 30, 2004, a co-conspirator, as president of
Paradyme, entered into an assignment and assumption agreement with the Sunshine
Companies whereby the Sunshine Companies transferred to Paradyme the “book of
business.”

h. On or about February 16, 2005, Presidion Solutions “assigns, transfers,
sets over and delivers to” the Sunshine Companies all of Presidion Solutions “right, title
and interest” in the consulting agreement dated October 14, 2004, between Presidion
Solutions and AQMI.

i, On or about April 29, 2005, Mirabilis purchased AEM for approximately
$125,000.00. At the time of the purchase, AEM was a PEO shell. Defendant FRANK
L. AMODEO and the other co-conspirators intended to transfer Presidion Solutions’
“book of business” to AEM because: i) AEM had a better SUTA rate than Paradyme and
PBS, and ii) because Presidion Solutions’ name was tainted in the PEO industry.

j. On or about May 1, 2005, Presidion Corporation entered into a consultant
agreement with Nexia that called for Nexia to provide consulting services to Presidion
Corporation. A co-conspirator signed the agreement on behalf of Presidion Corporation
and defendant FRANK L. AMODEO signed the agreement on behalf of Nexia.

k. On or about May 16, 2005, a co-conspirator, as president of Paradyme,
entered into an amendment to the December 30, 2004 agreement. The amendment
detailed that a promissory note in the amount of $12,241,475.65, the value of the “book
of business”, would be written by Paradyme for the benefit of the Sunshine Companies.

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This agreement indicated that the promissory note between the Sunshine Companies
and Paradyme should be effective as of December 31, 2004.

I. On or about May 24, 2005, two co-conspirators, as majority shareholders
in Presidion Corporation, gave defendant FRANK L. AMODEO power of attorney to
vote their shares.

m. On or about May 31, 2005, the Sunshine Companies, which were then
controlled by defendant FRANK L. AMODEO via Wellington, assigned the Paradyme
promissory note dated December 31, 2004 in the amount $12,241,475.65 to Mirabilis, a
company controlled by defendant FRANK L. AMODEO. Defendant FRANK L.
AMODEO signed the assignment of the promissory note on behalf of the Sunshine
Companies. A co-conspirator, a member of the Board of Directors for Mirabilis and for
Presidion Corporation, signed the assignment on behalf of Mirabilis.

n. On or about June 6, 2005, another co-conspirator, a member of the Board
of Directors for Mirabilis and for Presidion Corporation, also gave power of attorney to
defendant FRANK L. AMODEO for his shares of Presidion Corporation stock. This
power of attorney and the two powers of attorney referred to in paragraph | above
allowed defendant FRANK L. AMODEO to vote as the majority shareholder of
Presidion Corporation.

oO. On or about June 8, 2005, the Board of Directors for Presidion
Corporation met and resolved the following:

i. defendant FRANK L. AMODEO was appointed interim Vice

President of Presidion Corporation;

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ii. defendant FRANK L. AMODEO was added to all Presidion
Corporation accounts at Bank of America;

iii. any payments, purchase orders and contracts made by the
company, with the exception of net payroll checks, shall require
defendant FRANK L. AMODEO's written authorization; and

iv. Presidion Corporation would open new banking accounts at First
Southern Bank.

p. On or about June 8, 2005, defendant FRANK L. AMODEO opened the
Reserve account based upon the authorization provided by the resolution passed by the
Board of Directors for Presidion Corporation. This account received funds from the
Ultimate Master account, which collected funds meant to pay payroll tax funds.

q. On or about June 27, 2005, defendant FRANK L. AMODEO, as president
of the Sunshine Companies, directed Mirabilis, a company controlled by defendant
FRANK L. AMODEO, to direct all payments under the May 31* assignment to the
Internal Revenue Service on behalf of the Sunshine Companies.

r. Beginning in June 2005 and continuing through December 2005, a tax
director for Presidion Solutions notified a co-conspirator daily via e-mail about the
expenses and payables for Presidion Solutions, which included the payroll taxes for
Paradyme and for PBS. After the co-conspirator received the daily e-mail from the tax
director, the co-conspirator forwarded the tax director's original e-mail to defendant
FRANK L. AMODEO. Defendant FRANK L. AMODEO's administrative assistant

replied to the co-conspirator's e-mail after the administrative assistant received

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directions on what to pay from defendant FRANK L. AMODEO, including whether to
pay the payroll taxes for Paradyme and for PBS.

S. In or about summer 2005, the Sunshine Companies were dissolved.

t. On or about July 28, 2005, Wellington purchased Presidion Solutions,
including Paradyme and PBS, for approximately $100,000.00, as during the first half of
2005, Presidion Solutions was experiencing problems with its workers’ compensation
insurance carrier. This purchase was made to avoid the loss of the workers’
compensation insurance coverage.

u. On or about July 28, 2005, AEM signed a contract for management
services with Presidion Solutions where Presidion Solutions agreed to let AEM manage
Presidion Solutions’ “book of business” for a 2% fee. According to the contract, AEM
was to “comply with applicable federal, state, and local law, rules, and regulations,
codes, statutes, ordinances and orders of any governmental or regulatory authority.”

V. On or about July 28, 2005, AEM and PBS entered into an assignment
agreement, which provided that AEM would have “right, title and interest to the Client
Service Agreement/Subscriber Agreements (the Presidion Solutions “book of
business”), but no liabilities (payroll taxes).”

W. On August 31, 2005, Presidion Solutions and AEM amended the contract
for management services entered into on July 28, 2005, which provided that AEM would
continue to manage the Presidion Solutions “book of business” until December 31,
2005.

x. On or about September 8, 2005, AEM and PBS signed an amendment to
the assignment agreement dated July 28, 2005. A co-conspirator, representing PBS,

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and another co-conspirator, representing AEM, signed the amendment which extended
the time frame during which AEM managed Presidion Solutions’ “book of business” to
December 31, 2005.

y. On or about October 3, 2005, the Board of Directors for Wellington, which
consisted only of defendant FRANK L. AMODEO, authorized a co-conspirator, as
president of Presidion Solutions, which had been purchased by Wellington, to enter into
an indemnity agreement with Mirabilis, a company controlled by defendant FRANK L.
AMODEO. Per the indemnity agreement dated October 4, 2005, Mirabilis became
responsible for Presidion Solutions' liabilities, including any payroll tax liabilities, and
Presidion Solutions was supposed to pay Mirabilis $50,000,000.00 by the end of the
year.

z. On or about December 13, 2005, Mirabilis transferred the October 4, 2005
indemnity agreement to Titanium Consulting Services, Inc. (name subsequently
changed to Titanium Technologies, Inc.).

aa. Onor about December 31, 2005, AEM and PBS entered into a second
amendment to the assignment agreement dated July 28, 2005.

bb. From December 2004 through April 2008, approximately $3,200,000.00
had been paid towards the Sunshine Companies' payroll tax liabilities, which to that
date totaled approximately $30,000,000.00 (including taxes, penalties and interest).

CC. From on or about June 10, 2005 until on or about December 31, 2005,
defendant FRANK L. AMODEO, who controlled and directed all the banking activity of
the Reserve account, caused to be transferred approximately $64,600,000.00 to the
Reserve account from the Ultimate Master account. The funds were used by defendant

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FRANK L. AMODEO to purchase, fund and grow additional businesses, such as AQMI,
Mirabilis, Nexia, Quantum and Wellington. Specifically, approximately $34,000,000.00
was transferred from the Reserve account to Mirabilis, although that money was
supposed to be used for the payment of payroll taxes for PBS.

dd. Atthe beginning of 2006, a Bank of America account in the name of AEM,
titled as the “Depository account” (Depository account), was used to collect funds from
the PEO clients. The funds from the Depository account were swept to a Bank of
America account in the name of AEM titled as the “Master account” (Master account).
During the year, the funds from the PEO clients intended to pay the payroll taxes for
PBS were deposited into the Master account, but were not used for that purpose.

ee. In February 2006, defendant FRANK L. AMODEO faxed a letter to an
Internal Revenue Service revenue officer which stated that he was “creating new
strategies that will give him control of the operating subsidiaries. As a result of this
process, | have been able to disentangle the assets from a web of claims,
encumbrances, and security interests that were impeding both of us from recovering
monies owed to Internal Revenue Service.”

ff. On or about April 1, 2006, AEM, Paradyme and Wellington entered into a
transfer agreement that stated that Paradyme would assign, sell and transfer to AEM all
contracts that Paradyme had with clients. A co-conspirator signed the agreement on
behalf of AEM and another co-conspirator signed on behalf of Paradyme. A third
co-conspirator signed the transfer agreement on behalf of Wellington.

gg. Onor about May 9, 2006, AEM rescinded the assignment agreements
between AEM and PBS.

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hh. Onor about June 26, 2006, a co-conspirator advised an Internal Revenue
Service revenue officer that payroll tax money not paid to the Internal Revenue Service
was used to purchase two other companies, when, in fact, the money was used to
purchase, among other things, several companies, cars, a plane and real estate.

ii. On or about July 1, 2006, a co-conspirator, representing AEM, indicated to
another co-conspirator, representing PBS, that AEM "would like to extend the services
which AEM is currently providing to Presidion Solutions VII." The co-conspirator
representing AEM also stated that AEM would remit to the Internal Revenue Service the
payroll taxes for PBS.

jj. During the year 2006, the funds intended to pay the payroll taxes for PBS
were held in the Master account along with funds to pay the payroll taxes for AEM,
which had its own minuscule "book of business.” Instead of paying the payroll taxes for
PBS, defendant FRANK L. AMODEO directed funds transferred from the Master
account to a SunTrust Bank account in the name of Presidion Solutions, titled as the
“Capital account” (Capital account). During the year 2006, approximately
$23,750,000.00 was transferred from the Master account to the Capital account.
Defendant FRANK L. AMODEO controlled and directed all the banking activity of the
Capital account. After the funds were transferred to the Capital account, the funds were
used by defendant FRANK L. AMODEO and co-conspirators to purchase, fund and
grow additional businesses, such as AQMI, Mirabilis and Quantum.

kk. Onor about July 20, 2006, defendant FRANK L. AMODEO and a
co-conspirator met with Internal Revenue Service representatives and gave a false

explanation concerning the shortfall of payroll taxes.

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It. On or about August 29, 2006, Defendant FRANK L. AMODEO and
co-conspirators met to conduct a “mock deposition” of defendant FRANK L. AMODEO
to “prepare” him for a meeting with Internal Revenue Service revenue officers.

mm. Defendant FRANK L. AMODEO and co-conspirators knowingly failed to
remit to the Internal Revenue Service payroll taxes totaling approximately
$181,810,518.66, including approximately $129,655,309.04 in FICA and withholding
taxes (also referred to as trust fund taxes), for Sunshine Companies III (4 quarter,
2004); Sunshine Staff Leasing (4" quarter, 2004); PBS (2", 3, and 4" quarters, 2005;
1°, 2"7 3 and 4" quarters, 2006).

Allin violation of Title 18, United States Code, Section 371.

COUNTS TWO THROUGH TEN
(FAILURE TO REMIT PAYROLL TAXES)

14. | Count One, paragraphs One through Ten, are hereby re-alleged and
incorporated by reference as though fully set forth herein.

15. Between on or about December 1, 2004 and December 31, 2006, in
Orlando, Orange County, Florida, in the Middle District of Florida, and elsewhere,

FRANK L. AMODEO

the defendant herein, who, for the following companies and periods, deducted and
collected, and caused to be deducted and collected, from the total taxable wages of the
employees of client companies, federal payroll taxes in the sum of $181,810,518.66,
including $129,655,309.04 in FICA and withholding taxes (also referred to as trust fund

taxes), did willfully fail to truthfully account for and pay over to the Internal Revenue

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Service said federal payroll taxes withheld due and owing to the United States of

America for the following companies and periods:

 

 

 

 

 

 

 

 

 

 

COUNT | CORPORATION EIN PERIOD AMOUNT

Two Sunshine XX-XXXXXXX | 2004 4th Quarter | $ 3,641,437.01
Companies II

Three Sunshine Staff XX-XXXXXXX | 2004 4th Quarter | $ 5,502,515.31
Leasing

Four Professional Benefit | XX-XXXXXXX | 2005 2nd Quarter | $11,029,002.64
Solutions

Five Professional Benefit | XX-XXXXXXX | 2005 3rd Quarter | $31,461,088.10
Solutions

Six Professional Benefit | XX-XXXXXXX | 2005 4th Quarter | $29,343,761.14
Solutions

Seven Professional Benefit | XX-XXXXXXX | 2006 1st Quarter | $26,113,361.73
Solutions

Eight Professional Benefit | XX-XXXXXXX | 2006 2nd Quarter | $27,042,950.02
Solutions

Nine Professional Benefit | XX-XXXXXXX | 2006 3rd Quarter | $25,783,770.85
Solutions

Ten Professional Benefit | XX-XXXXXXX | 2006 4th Quarter | $21,892,631.86
Solutions

 

 

 

 

 

 

 

All in violation of Title 26, United States Code, Section 7202, and Title 18, United
States Code, Section 2.

COUNTS ELEVEN THROUGH TWENTY-SIX
(WIRE FRAUD)

16. Count One, paragraphs One through Ten, are hereby re-alleged and
incorporated by reference herein.
THE SCHEME TO DEFRAUD
17. From a date unknown, possibly as early as August 2004, but no later than
in or about December 2004, and continuing to in or about February 2007, in Orlando,
Orange County, Florida, in the Middle District of Florida, and elsewhere,

FRANK L. AMODEO

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the defendant herein, knowingly devised and executed a scheme and artifice to defraud
clients of PEOs controlled by defendant FRANK L. AMODEO of money and property,
and to obtain money and property of said clients, by means of false and fraudulent
pretenses, representations and promises.
MANNER AND MEANS

18. |The substance of the scheme and artifice to defraud and to obtain money
and property by false pretenses, representations and promises included, among other
things, the manner and means contained in Count One, paragraphs Twelve and
Thirteen, and are incorporated by reference herein.

THE WIRE COMMUNICATIONS

19. Onor about the following dates, in Orange County, Florida, in the Middle

District of Florida, and elsewhere,
FRANK L. AMODEO

the defendant herein, having devised and intending to devise, and for obtaining money
and property by means of false and fraudulent pretenses, representations and
promises, transmitted and caused to be transmitted a wire transfer of money by means
of wire communications in interstate commerce signs, signals, pictures and sounds for
the purpose of executing such scheme to defraud and injure said clients of the PEOs

controlled by defendant.

 

 

 

 

 

 

 

Count Date Point of Origin Point of Reception Description
Presidion Solutions, Inc., nou Strategy moe” Wire Transfer
11 12/13/04 | Bank of America, AmSouth Ba, ak a of
Acct No. 5481578978 Acct No. 55292976 - $1,410,375.52

 

19

 

 

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Case 6:08-cr-00176-JA-TBS Document1 Filed 08/06/08 Page 20 of 32 PagelD 20

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bank of America,
Acct No. 5561911523

 

Acct No. 100041146787

 

‘Count Date Point of Origin Point of Reception Description _
Presidion Solutions, Inc., a Strategy Corp., Wire Transfer
12 12/20/04 | Bank of America egions Bank, f/k/a of
‘ AmSouth Bank,
Acct No. 5481578978 Acct No. 55292976 $1,284,986.58
Presidion Solutions, Inc., | Presidion Solutions, Inc., .
13 6/10/05 Bank of America, First Southern Bank, ost 000 ra
Acct No. 5481578978 Acct No. 2058256506
Presidion Solutions, Inc., | Presidion Solutions, Inc., ;
14 | 6/17/05 _ | Bank of America, First Southern Bank, ors 000.000
Acct No. 5481578978 Acct No. 2058256506
Presidion Solutions, Inc., | Presidion Solutions, Inc.,
15 7/22/05 Bank of America, First Southern Bank, ors 500.000
Acct No. 5481578978 Acct No. 2058256506
Presidion Solutions, Inc., | Presidion Solutions, Inc., ;
16 7/29/05 Bank of America, First Southern Bank, ost 500. ana
Acct No. 5481578978 Acct No. 2058256506
Presidion Solutions, Inc., | Presidion Solutions, Inc., | ,,,
17 11/2/05 Bank of America, First Southern Bank, ort Sop asd
Acct No. 5481578978 Acct No. 2058256506 uo
Presidion Solutions, Inc., | Presidion Solutions, Inc., | ,,);
18 11/28/05 | Bank of America, First Southern Bank, ors Hite
Acct No. 5481578978 Acct No. 2058256506 ~_
Ae aban an Nexia Strategy Corp., Wire Transfer
19 1/9/06 . Bank of America,
Bank of America, Acct No. 5502778055 of $1,000,000
Acct No. 5561911523 "
AEM, Inc., was .
virabili an Presidion Solutions, Inc., Wire Transfer
20 2/14/06 i" SunTrust Bank,
Bank of America, Acct No. 100044146787 of $2,000,000
Acct No. 5561911523
AEM, Inc., d/b/a ws .
Mirabilis HR Presidion Solutions, Inc., Wire Transfer
21 3/17/06 . SunTrust Bank,
Bank of America, Acct No, 100041146787 of $1,300,000
Acct No. 5561911523 ‘
AEM, Inc., vas .
akin aR. Presidion Solutions, Inc., Wire Transfer
22 4/21/06 " SunTrust Bank,

of $700,000

 

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[Count | Date Point of Origin Point of Reception Description
AEM, Inc., d/b/a Titanium Technologies,
Mirabilis HR, SunTrust Bank, Wire Transfer
23 5/15/06 Bank of America, Acct No. of $1,500,000

Acct No. 5561911523 1000046738380

 

AEM, Inc., d/b/a . .
Mirabilis HR, Wellington Capital,

24 5/19/06 Mercantile Bank,

Bank of America,
Acct No. 5561911523 Acct No. 7600303414

Wire Transfer
of $500,000

 

AEM, Inc., d/b/a

Mirabilis HR, Mirabilis Ventures, Inc.,

Wire Transfer

 

s M2818 | Bank of America, Acct No 3060763128 of $250,000
Acct No. 5561911523 "
AEM, Inc., d/b/a . .
Mirabilis HR Tenshi Leasing, Inc., Wire Transfer
26 12/11/06 ‘ Bank of America,

Bank of America, of $500,000

Acct No. 5561911523 Acct. No. 5560769378

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

COUNT TWENTY-SEVEN
(Obstruction of an Agency Investigation)

20. Count One, paragraphs One through Ten, are hereby re-alleged and
incorporated by reference as though fully set forth herein.

21. From in or about January 2005, through in or about August 2006, in the
Middle District of Florida, and elsewhere,

FRANK L. AMODEO

the defendant herein, did corruptly influence, obstruct, and impede, and did endeavor to
corruptly influence, obstruct, and impede, the due and proper administration of the law in
the Internal Revenue Service collection of payroll taxes owed to the Internal Revenue

Service by the Sunshine Companies, then pending with said agency, in that defendant

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FRANK L. AMODEO and co-conspirators provided false information, or failed to provide
information which was material for said investigation, to the Internal Revenue Service

revenue officers involved in the collection of said payroll taxes, that is to say:

a. Defendant FRANK L. AMODEO and co-conspirators knowingly failed to
remit to the Internal Revenue Service payroll taxes totaling approximately
$181 ,810,518.66, including approximately $129,655,309.04 in FICA and withholding
taxes (also referred to as trust fund taxes), for Sunshine Companies III (4" quarter, 2004);
Sunshine Staff Leasing (4" quarter, 2004); PBS (2, 3% and 4" quarters, 2005; 1*, 2", 3°

and 4" quarters, 2006).

b. Revenue officers of the Internal Revenue Service were conducting an
investigation into the failure to remit payroll taxes owed to the Internal Revenue Service

by the Sunshine Companies and were attempting to collect said payroll taxes.

Cc. It was material to this investigation to determine whether the payroll taxes of
the Sunshine Companies were capable of being paid and whether the payroll taxes were

being used to pay operating expenses.

d. Defendant FRANK L. AMODEO and his co-conspirators misled, impeded

and misdirected the revenue officers as a result of the following acts, among others:

i. On or about June 26, 2006, a co-conspirator advised an Internal
Revenue Service revenue officer that payroll tax money not paid to
the Internal Revenue Service was used to purchase two other
companies, when, in fact, the money was used to purchase, among

other things, several companies, cars, a plane and real estate.

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ii. On or about July 20, 2006, defendant FRANK L. AMODEO and a co-
conspirator met with Internal Revenue Service representatives and
gave a false explanation concerning the shortfall of payroll taxes.

iti. On or about August 29, 2006, Defendant FRANK L. AMODEO and
co-conspirators met to conduct a “mock deposition” of defendant
FRANK L. AMODEO to “prepare” him for a meeting with Internal
Revenue Service revenue officers.

Allin violation of Title 18, United States Code, Sections 1505 and 2.
FORFEITURE
1. The allegations contained in Counts One and Eleven through Twenty-Six of
this Indictment are hereby realleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to the provisions of Title 18, United States Code, Section
981(a)(1)(C), and Title 28, United States Code, Section 2461(c).

2. From his engagement in the violations alleged in Counts One and Eleven

through Twenty-Six of this Indictment, the defendant
FRANK L. AMODEO

shall forfeit to the United States of America, pursuant to Title 18, United States Code,
Section 981(a)(1)(C), and Title 28, United States Code, Section 2461(c), all of his interest
in any property, real or personal, which constitutes or is derived from proceeds traceable

to such violations.

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3. The specific property to be forfeited includes, but is not limited to:

a.

A forfeiture money judgment in the amount of $181,810,518.66,
which constitutes proceeds obtained directly or indirectly as a result
of the conspiracy to commit wire fraud charged in Count One, and/or
the wire fraud charged in Counts Eleven through Twenty-Six. The
net proceeds of any asset forfeited as property constituting or
traceable to proceeds of the offenses charged herein shall be
credited in partial satisfaction of the money judgment.

The real property, including all improvements thereon and
appurtenances thereto, located at:

(1)
(2)
(3)
(4)
(5)
(6)
(7)

614 Lake Avenue, Orlando, Florida;

709 Euclid Avenue, Orlando, Florida;

1159 Delaney Avenue, Orlando, Florida;

3801 Carolina Avenue, Richmond, Virginia;
4905 Research Drive, Huntsville, Alabama;
102 West Whiting Street, Tampa, Florida; and

The proceeds of the sale of 509 Riverfront Parkway,
Chattanooga, Tennessee, currently held in the bankruptcy
estate of Winpar Hospitality Chattanooga, LLC, Case No.

07-11908, U.S. Bank. Court, E.D. Tenn.

The following vehicles:

(1)

(2)

(3)

2006 Black Harley Davidson Motorcycle,
VIN # 1HD1BWB156Y077592;

2006 Mercedes Benz CLS 500C Coupe,
VIN # WDDDJ75X46A032858; and

2006 BMW 750Li,
VIN # WBAHN83536DT30059

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Case 6:08-cr-00176-JA-TBS Document1 Filed 08/06/08 Page 25 of 32 PagelD 25

d. Gates Learjet Model 25D, Aircraft Number 4488W;

e. The following promissory notes:

(1)

(2)

A promissory note in the amount of $3,500,000.00 dated on or
about May 7, 2007 between Wellington Capital and Worker's
Temporary Staffing, Inc., including payments of $63,000.00
per month; and

A promissory note in the amount of $5,500,000.00 dated on or
about May 27, 2007 between Mirabilis Ventures, Inc. and
Conrad D. Eigenmann, Jr., including semi-annual payments of
at least $100,000.00.

f. The following seized funds:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

$253,487.45 in proceeds seized from the trust account of the
law firm of Balch Bingham LLP;

$101,393.86 in proceeds seized from the trust account of the
law firm of Shutts & Bowen;

$42,419.72 in proceeds seized from the trust account of the
law firm of Mateer and Harbert;

$100,000.00 in proceeds seized from the trust account of the
law firm of Maher, Guily, Maher PA;

$105,922.96 in proceeds seized from the trust account of the
law firm of Martin, Pringle, Oliver, Wallace, & Baur LLP;

$50,000.00 in proceeds seized from the trust account of the
law firm of Bieser, Greer & Landis LLP;

$8,518.30 in proceeds seized from the trust account of the law
firm of Allen, Dyer, Doppelt, Milbrath & Gilchrist PA;

$25,000.00 in proceeds seized from the trust account of the
law firm of Valenti, Hanley & Robinson PLLC;

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(9) $10,000.00 in proceeds seized from the trust account of the
law firm of Brown, Stone, & Nimeroff LLC;

(10) $21,900.00 in proceeds seized from the trust account of the
law firm of Hunt Rudd PA;

(11) $41,029.54 in proceeds seized from the trust account of the
law firm of Ford & Harrison PA;

(12) $12,528.51 in proceeds seized from the trust account of the
law firm of Broad & Cassel;

(13) $20,754.19 in proceeds seized from the trust account of the
law firm of Latham, Shuker, Barker, Eden, & Beaudine LLC;
and

(14) $13,100.99 in proceeds seized from Fifth Third Bank Account
No. 7440599020 in the name of Soone Business
Development.

g. The assets of the following corporations, including but not limited to
the below listed lawsuits and/or settlements:

Corporations:

AEM, Inc., d/b/a Mirabilis HR,
AQMI Strategy Corporation,
Hoth Holdings, LLC,
Mirabilis Ventures, Inc.,
Nexia Strategy Corporation,
Presidion Solutions, Inc.,
Professional Benefit Solutions, Inc.,
d/b/a Presidion Solutions VII, Inc.
Quantum Delta Enterprises, Inc.,
d/b/a Siren Resources, Inc.,
Titanium Technologies, Inc.,
f/k/a Titanium Consulting Services, Inc.,
Tenshi Leasing, Inc.
Wellington Capital Group, Inc.

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Lawsuits:
Style of case Location _ Case No.
Mirabilis Ventures, Inc. v. Broward County, Florida CACE 07011827

Jeffrey Reichel

 

Mirabilis Ventures, Inc, and
Nexia Strategy Corp. v.
Palaxar Group, LLC, et al.

Orange County, Florida

07-co-13191 (37)

 

Mirabilis Ventures, Inc. v.
Forge Capital Partners,
LLC, etal.

Orange County, Florida

07-CA-13828 (33)

 

Mirabilis Ventures, Inc. v.
J.C. Services, Inc., et al.

U.S.D.C., M.D. FI.

6:06-cv-1957-Orl-22KRS

 

AEM, Inc. d/b/a Mirabilis
HR v. Sheryl Okken,
Progressive Employer
Services, LLC, et al.

Brevard County, Florida

05-2007-CA-006526

 

RKT Constructors, Inc. v.
Del Kelley and Robi
Roberts

Orange County, Florida

2007-CA-012599-0

 

Mirabilis Ventures, Inc. v.
Stratis Authority, Inc., et al.

Orange County, Florida

07-ca-13826 (37)

 

Mirabilis Ventures, Inc. v.
Premier Servicing, LLC and
Robert Konicki

Orange County, Florida

07-ca-33197 (34)

 

Mirabilis Ventures, Inc. v.
Robert Lowder, et al.

Orange County, Florida

2006-CA-005742-0

 

Kenneth Hendricks, et al. v.
Mirabilis Ventures, Inc., et
al. (Counterclaim)

U.S.D.C., M.D.FI.

8:07-cv-661-T17EAJ

 

 

Kenneth Hendricks, et al. v.
Mirabilis Ventures, Inc., et
al. (Counterclaim)

 

Hillsborough County,
Florida

 

DC-07-014201J

 

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Style of case

Location

Case No.

 

Berman, Kean & Riguera,
P.A. v. Mirabilis Ventures,
Inc., et al. (Counterclaim)

Broward County, Florida

07-024968 (21)

 

Anthony T. Sullivan v.
AQMI Strategy
(Counterclaim)

Orange County, Florida

07-CA-0015981-0

 

 

 

Wellington Capital Group,
Inc.

Paysource, Inc. And Robert | U.S.D.C., S.D. Ohio 3:07cv0129
Sacco v. Mirabilis ,

Ventures, Amodeo, et al.

(Counterclaim)

Prime Acquisition Group, Palm Beach County, §02007CA02242
LLC v. lonic Services, Inc., | Florida

et al. (Counterclaim)

Michael Mapes, et al. v. U.S.D.C., D. Neb. 8:07cv77

 

Briarcliff Village, LLC v.
Mirabilis Ventures, Inc.

Clay County, Missouri

07CY-CV09414

 

William Gregory v. Floyd
Road v. Mirabilis Ventures,
Inc. (Counterclaim)

Hillsborough County,
Florida

07-CA-010780

 

Coastal Equity Partners,
LLC v. Pacific Atlantic
Capital Corp., et al.
(Counterclaim)

Henrico County, Virginia

CLO7-1960

 

Liberty Property Limited
Partnership v. Mirabilis
Ventures, Inc., et al.
(Counterclaim, settled)

Duval County, Florida

162007CA003642

 

Tranmere Rovers Football
Club v. Mirabilis Ventures,
Inc. (Counterclaim, settled)

Liverpool, England

7LV30022

 

Mark Lang v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

 

 

Orange County, Florida

 

48-2007-CA-002929-0

 

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, Case 6:08-cr-00176-JA-TBS Document1 Filed 08/06/08 Page 29 of 32 PagelD 29

 

Style of case

Location

Case No.

 

David Chaviers, Norman
Chaviers, Kellie Ledbetter
and Tom Hancock v.
Mirabilis Ventures, Inc. And
Frank Amodeo, et al.
(Counterclaim, settled)

U.S.D.C., N.D. Ala.

CV-07-0442-cls

 

Carlton Fields v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

Hillsborough County,
Florida

07-CC-038145

 

Brevard County v. RKT
Constructors, Inc.
(Counterclaim, settled)

Brevard County, Florida

05-2007-CA-12251

 

Bellsouth v. RKT
Constructors, Inc., et al.
(Counterclaim, settled)

Orange County, Florida

05-2007-CA-9660-0

 

Dutko Global Advisors LLC
v. AQMI Strategy
Corporation

(Counterclaim, settled)

Orange County, Florida

48-2007-CA-018164-0

 

Capital Office Products of
Volusia County, Inc., v.
Mirabilis Ventures, Inc.
(Counterclaim, settled)

Volusia County, Florida

2007-34950 COCI

 

CDW Corporation, Inc. v.
Information Systems, Inc.
(Counterclaim, settled)

Cook County, Illinois

2007-L-002446

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

Broward County, Florida

05-2003-CA-047397

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

 

 

Broward County, Florida

 

05-2006-CA-060518

 

 

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Style of case

 

Location

Case No.

 

Providence Property &
Casualty Insurance Co, et
al. v. Paradyme, Inc., d/b/a
Presidion Solutions VI
(settled)

U.S.D.C., E.D. Tx.

4:07-CV-202

 

Presidion Corporation v.
Arrow Creek, Inc., et al.

 

 

Palm Beach County,
Florida

 

502006CA001417xxxxMB

 

 

h. Any and all property of the following bankruptcy estates, including
funds which now constitute or have constituted funds of the estate:

 

 

 

 

 

 

 

 

 

 

 

 

Style of case Location Case No. _
In Re: Winpar Hospitality U. S. Bankruptcy Court, 07-11908
Chattanooga, LLC. E.D. Tenn.
Sam Hopkins, Trustee v. U. S. Bankruptcy Court, 08-08005-JDP
Todd Pattison and Mirabilis | Dp. idaho
Ventures, Inc.
In Re: Mirabilis Ventures, U. S. Bankruptcy Court, 6:08-bk-04327-KSJ
Inc. M.D. FI.
In Re: Hoth Holdings, LLC | U. S. Bankruptcy Court, 6:08-bk-04328-KSJ
M.D. FI.
In Re: AEM, Inc. U. S. Bankruptcy Court, 6:08-bk-04681
M.D. FI.
In Re: North American U. S. Bankruptcy Court, 2:07-bk-24900
Communications D. Utah
4. If any of the property described above, as a result of any act or omission of
the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

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Cc. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property under the
provisions of Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c).

A TRUE BILL, -
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/_Foreperson~

Dominic Snag) Tr

 

ROBERT E. O’NEILL
United States Attorney

» CABIN VE

Roger B. Handberg
Assistant United States Attorney
Chief, Orlando Division

|. Randall Gold
Assistant United States Attorney
Deputy Chief, Orlando Division

 

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Case Pp Document 1 |

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